      Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 1 of 23



                       UNITED STATES DISTRICT COURT
                   THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA GENERAL ENERGY               )
COMPANY, L.L.C.,                          )             CIV. NO.: 1:14-cv-209
                                          )             Magistrate Judge
Plaintiff,                                )             Susan Paradise Baxter
                                          )
PENNSYLVANIA INDEPENDENT OIL AND          )
GAS ASSOCIATION,                          )
                                          )
Plaintiff-Intervenor,                     )
                                          )             APPENDIX TO GRANT
v.                                        )             TOWNSHIP’S STATEMENT OF
                                          )             FACTS IN OPPOSITION TO
                                          )             PGE’S MOTION FOR
GRANT TOWNSHIP,                           )             SUMMARY JUDGMENT
                                          )
                                          )             Electronically Filed
Defendant.                                )
__________________________________________)


                                        Exhibit “A”

Affidavit of Grant Township Supervisor Stacy Long.

       Exhibit #1 - Section U DESCRIPTION OF BUSINESS, DEP’S Notice of Deficiency to
PGE for UIC Permit Application, “Response to Notice of Deficiency from EPA Region III,
Marjorie C. Yanity #1025 UIC Application.”

                                        Exhibit “B”

Affidavit of Grant Township Board of Supervisors’ Chairman Jon Perry.
Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 2 of 23




               APPENDIX, EXHIBIT “A”
         Affidavit of Grant Township Supervisor Stacy Long
     Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 3 of 23



                            UNITED STATES DISTRICT COURT
                        THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA GENERAL ENERGY                           )
COMPANY, L.L.C.,                                      )       Civ. No.: 1:14-cv-209
                                                      )       Magistrate Judge
Plaintiff,                                            )       Susan Paradise Baxter
                                                      )
PENNSYLVANIA INDEPENDENT OIL AND                      )
GAS ASSOCIATION,                                      )       DECLARATION OF
                                                      )       SUPERVISOR STACY LONG
Plaintiff-Intervenor,                                 )
                                                      )
V.                                                    )
                                                      )
GRANT TOWNSHIP,                                       )
                                                      )
                                                      )       Electronically Filed
Defendant.                                            )



         DECLARATION OF GRANT TOWNSHIP SUPERVISOR STACY LONG

        I, Stacy Long, being an adult over the age of 21 years, and competent to make this

unsworn Declaration, do hereby make the statements below, which are true and correct to the

best of my knowledge and belief, subject to the penalties for unsworn declarations pursuant to

Pennsylvania law:

        1. My name is Stacy Long, and I serve as one of the Supervisors for Grant Township.

             Grant Township is a small rural town in Pennsylvania with a population of

             approximately 700 people.

        2. In 2014, I obtained copies of public records from the Pennsylvania Department of

             Environmental Protection Southwest Regional Office at 400 Waterfront Drive,

             Pittsburgh, PA, pertaining to PGE's application to use the Yanity Well as an injection

             well.
   Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 4 of 23



       3. I copied portions ofPGE's DEP permit. I only copied portions because it is

           approximately 200 pages. Attached to the permit was a "Response to Notice of

           Deficiency from EPA Region III, Marjorie C. Yanity # 1025 UIC Application" under

           Section U DESCRITPION OF BUSINESS, prepared by PGE. A true and correct

           copy of this document is attached hereto as Exhibit 1. The first question asks will

           "the injection well be used just for the injection ofPGE's own production fluid?"

           PGE responded: "PGE plans to only inject fluids produced from PGE operated wells.

           A revised cover is enclosed."

       4. PGE then changed its application to indicate that the proposed well would not be a

           commercial well. PGE's application is part of the permit.


       I sign this Declaration subject to the penalties for unsworn verifications pursuant to

Pennsylvania law.



Dated: January 10, 2018.




StacyL~
Grant Township Supervisor




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Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 5 of 23




                              u
        DESCRIPTION OF BUSINESS
                         UIC Permit App.




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      Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 6 of 23




Attachment U: DESCRIPTION OF BUSINESS


Pennsylvania General Energy Company, L.L.C. (the "LLC") was formed on July 1, 2003 as a
multi-member limited liability company. At that time, Pennsylvania General Energy Corp.
("POE") contributed substantially all of its operating assets to the LLC. The LLC is engaged in
the development, production and operation of oil and gas properties. Its activities are presently
concentrated in Pennsylvania but it has also conducted activities in New York, West Virginia
and Maryland. POE currently operates over 1,300 producing oil and gas wells. Although POE
does not currently hold any UIC injection permits, it has operated in excess of 600 permitted
injection wells, injecting up to 5,400 BWPD of which 75% was produced water.




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     Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 7 of 23




                     UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                            REGION Ill
                                        1650 Arch Street
                             Philadelphia, Pennsylvania 19103-2029



                                                                                     March 4, 2013
Mr. James Ashbaugh .
P.E. Vice President Engineering
Pennsylvania General Energy Company, L.L.C.
120Market Street
Warren, PA 16365

Re: UIC Permit Application Submission Notice o:(Deficiency

Dear Mr. Ashbaugh:

         EPA Region III staff has completed their review of Pennsylvania General Energy
Company's application to construct and operate one Underground Injection Control (UIC) Class
ll-D brine disposal injection well in Grant Township, Indiana County, Pennsylvania Please find
enclosed a Notice of Deficiency (NOD) for this permit application. The NOD requires the
submission of additional information that will allow this office to complete its review of the
application and begin the process of developing a draft permit for the facility. Your application
has been assigned the following permit identification: PAS2D013BIND. Please use thi~ permit
identification in all future correspondence. If you should have any questions please give me a
call at 215-814-5464 or you may email me at platt.steve@epa.gov.

                                         Sincerely,


                                          J.J4jM
                                          S. Stephen Platt
                                        · Ground Water & Enforcement Branch (3WP22) .
                                          Office of Drinking Water & Source Water Protection

Enclosures



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     Printed on 100% recycled/recyclable paper wid1 100% post-consumer fiber and process chlorine free.
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                                                   Notice ofDeficiency

                                                                        For

                         Pennsylvania General Energy Company, LLC

         Underground Injection Control (VIC) Permit Application PAS2D013BIND



       Please provide additional information on the deficiencies outlined below so that EPA
Region Ill can take additional steps to process the UIC permit application. Whet?- submitting
your response to the notice of deficiency, please provide two copies. You may submit your
response as an addendum to the already submitted application. We would also appreciate if you
would send a copy of your response to EPA UIC inspector Dave Rectenwald.

Cover Page

        The cover page indicates that the proposed injection well will be a commercial well.
EPA defines a commercial well as a well that would receive fluid for injection from companies
other than Pennsylvania General Energy (PGE). Is it PGE's expectation that it will utilize the
injection well commercially or will the injection well be used just for the injection of PGE's
own production fluid?

Attachment A: Area of Review

        Although PGE has chosen a fixed radius or one-quarter mile for the area of review, EPA
needs to confirm, through a zone of endangering influence calculation, that the one-quarter mile
fixed radius is acceptable. Please submit the following information: current injection zone
reservoir pressure, injection zone porosity and injection zone permeability.

Attachment B: Maps of Wells in Area of Review

        EPA also requires a map that extends one mile beyond the injection well location. This
map should show topographic highlights as well as depict any water sources, any wells
(including private and public drinking water wells, oil and gas production wells, etc.), and any
geologic faults, if present. The quarter mile area map that was submitted, that depicted bedrock,
was supposed to include a fault line, however, nothing is shown. Is there a fault present nearby?
It was noted that the tributary to East Run has a long straight line stream segment. Would this be
indicative ofthe presence of a fracture trace or fault line?

        It was noted in the application that the location of the proposed injec!ion well is in an
area that was heavily surfaced mined. Please provide maps which depict the surface mining in
the area. This information can be included on the one mile map discussed above. Please include

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     Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 9 of 23




 infonnation regarding the depths of these surface mines, especially the Yanity mine located
 approximately 300 feet northeast of the injection well location.

Attachment C: Corrective Action

       Please provide information on the names and addresses of property owners that live
within one~quarter mile of the Area of Review.

Attachment G: Geological Data

        Although the application provided ISIP information from the Y anity well 1025
stimulation, EPA did not see the actual stimulation data used to derive the ISIP. Please submit
the actual stimulation data information.

        The Marcellus formation is located above the Huntersville Chert and could be considered
a confining unit. Is there any current or proposed gas development for the Marcellus formation
in the vicinity of the injection well site? If development is planned, please explain how the
horizontal drilling and fracture stimulation within the Marcellus will not jeopardize the
confinement structure above the Huntersville Chert.

Attachment H: Operating Data

        The application requested a maximum injection volume of2000 barrels/day based on a
short term injectivity test. This equates to a monthly injection volume of approximately 60,000
barrels. Based on just the data from the short term injectivity test, EPA is not inclined to permit
the injection well for this high a volume. Do you have further data to support this high an
injection volume? Injection pressure will ultimately dictate injection volume and rate. EPA
would like to see the injection well operate for a period oftime to be able to justify a 60,000
barrel/month injection volume. How much produced fluid does PGE anticipate sending' to this
injection well?

        EPA did not see an analysis of Total Organic Carbon (TOC) in the analysis of the
injection fluid submitted with the application. Please submit an analysis of the TOC.

Attachment K: Injection Procedures

         The application indicates that the injection well will be equipped with an automatic shut
down device set at maximum tubing and casing pressures. What does maximum casing pressure
mean? Since a maximum injection pressure will be set for the well, it would be better to define
the casing shut down pressure as a percentage of the operating pressure or some positive
pressure, so that if a leak does occur, it would trip the automatic shut down device and shut the
well in.

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 Attachment L: Construction Procedures

        A complete set of drillers logs for the Yanity 1025 need to be submitted. Only partial
logs were submitted with the application. At minimum, the submission should include gamma
ray, density, neutron and caliper logs. In addition, please submit a Cement Evaluation Log
(CEL) or Cement BondNariable Density Log (CBLNDL) that shows the bonding of the cement
run on the 4 ~ inch long string casing. If a CEL or CBLNDL is not available, then one will
need to be run, prior to running tubing and packer into the well, and submitted as part of the
injection well completion report.

        When the 2 3/8 inch tubing and packer is run inside the long string casing, it will need to
be set no more than 50 feet above the uppermost perforations.

         Please describe how PGE will provide and maintain security for the facility to prevent
illegal trespass. For example, will the facility have fencing, locked gates, cameras, etc.? What
will be the facility's anticipated hours of operation and will the facility be manned during hours
of operation?

Attachment P: Monitoring P,rogram

      The application did not mention that cumulative volume will be monitored. Cumulative
volume needs to be monitored continuously throughout the injection well's operation.

Attachment Q: Plugging and Abandonment

       The plugging and abandonment plan did not show a final surface plug placed in the well.
EPA typically requires a surface plug to be placed in the well during plugging. If for some
EPA's requirement does not meet the Pennsylvania Department of Environmental Protection's
requirements, then please stipulate.

Attachment R: Necessary Resources

       EPA also requires that a Schedule A form be submitted with the Standby Trust
Agreement. A copy of the Schedule A form has been enclosed with this deficiency notice for
your use.




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                            Response to Notice of Deficiency from EPA Region Ill

                                 Marjorie C. Vanity #1025 UIC Application




Cover Page

Question: The cover page indicates that the proposed injection well will be a commercial well. EPA
defines a commercial well as a well that would receive fluid for injection from companies other than
Pennsylvania General Energy (PGE).        Is it PGE's expectation that it will utilize the injection well
commercially or will the injection well be used just for the injection of PGE's own production fluid?

Response:     PGE plans to only inject fluids produced from PGE operated wells.         A revised cover is
enclosed.

Attachment A: Area of Review

Question: Although PGE has chosen a fixed radius or one-quarter mile for the area of review, EPA needs
to confirm, through a zone of endangering influence calculation, that the one-quarter mile fixed radius is
acceptable. Please submit the following information: current injection zone reservoir pressure, injection
zone porosity and injection zone permeability.

Response:     From analysis of the pre-injection test pressure data a current injection zone reservoir
pressure of 1,450 psi was determined. Analysis of geophysical well logs and the injection test rate and
pressure data determined a porosity of 3% and permeability of 2.2 md. Published porosity values for
the Huntersville formation range from 2.5 to 8%, "Atlas of Major Appalachian Gas Plays".

Attachment 8: Maps of Wells in Area of Review

Question: EPA also requires a map that extends one mile beyond the injection well location. This map
should show topographic highlights as well as depict any water sources, any wells (including private and
public drinking water wells, oil and gas production wells, etc.), and any geologic faults, if present. The
quarter mile area map that was submitted, that depicted bedrock, was supposed to include a fault line,
however, nothing is shown. Is there a fault present nearby? It was noted that the tributary to East Run
has a long straight line stream segment. Would this be indicative of the presence of a fracture trace or
fault line?

Response:

    •    Revised maps depicting all of the information requested above except water wells are enclosed.
        A survey of water wells within a 1-mile radius of the Vanity 1025 well is ongoing and a revised
        water source map will be supplied upon completion of the survey.



~·
        The Bedrock/Fault Map legend had a "Fault" symbol listed, but PGE identified no actual faults in
        the mapped area .
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     •    Review of the available geophysical (seismic) control indicates no evidence of faults that reach
          the surface from depth in this area. Any linear surface features in this area are a result of years
          of small scale surface mining operations and extensive farming.
    •     In regards to the "long, straight line stream segment" the EPA specifically noted in its Notice of
          Deficiency letter of March 4, 2013, on April 2, 2013 Michael Vanity, the surface owner of the
          subject premises, informed PGE that this straight section of stream was created by a previous
          farmer who had wanted to better facilitate plowing his land (note that the "straight segment"
          stops at the property boundary).      Prior to that work, the stream had the same general
         · morphology as the sections northwest and southeast of it (20' to 30' meanders).             After
          straightening the creek, the farmer had dumped rocks into it to help maintain the straight
          segment. For their part, the Vanitys have periodically kept it cleaned out. As a result of this
          exchange, PGE has concluded the straight segment was a man-made linear feature, not a
          natural one.

Question: It was noted in the application that the location of the proposed injection well is in an area
that was heavily surface mined. Please provide maps which depict the surface mining the area. This
information can be included on the one mile map discussed above.                Please include information
regarding the depths of these surface mines, especially the Vanity mine located approximately 300 feet
northeast of the injection location.

Response: The Majorie C. Vanity well1025 is located within an abandoned strip mine as evidenced by a
high wall to the north and irregular topography to the southeast of the existing well location. The
Pennsylvania Bureau of Abandoned Mine Reclamation was consulted to obtain details ofthe strip
mining activities that have occurred on the Vanity parcel.   Mining occurred between 1948 and 1960
with a total disturbance of approximately 42 acres. The primary coal seam targeted was likely the Upper
Freeport coal seam, although it is possible that the Lower Freeport could have also been mined . The
maximum overburden thickness to the Upper Freeport is 60 feet while the maximum overburden
thickness is approximately 100 feet to the Lower Freeport. Given that the Lower Freeport reaches a
maximum thickness of 5 feet in Grant Township, It is concluded that the depth of strip mining activities
would not have exceeded 110 feet.

Attachment C: Corrective Action

Question: Please provide information on the names and addresses of property owners that live within
one-quarter mile of the Area of Review.

Response: Enclosed is contact information for landowners within the one-quarter mile Area of Review.

Attachment G: Geologic Data

Question: Although the application provided ISIP information from the Vanity well1025 stimulation,
EPA did not see the actual stimulation data used to derive the ISIP. Please submit the actual stimulation
data information.
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    Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 13 of 23




 Response : A plot of the injection rate and wellhead pressure from the initial acid frac stimulation of the
 Yanity well 1025 is enclosed . The ISIP noted in the initial service company report and the projected
 fracture closure stress based on the pressure plot are both noted on the plot.

Question : The Marcellus Formation is located above the Huntersville Chert and could be considered a
confining unit. Is there any current or proposed gas development for the Marcellus Formation in the
vicinity of the injection well site? If development is planned, please explain how the horizontal drilling
and fracture stimulation w ithin the Marcellus will not jeopardize the confinement structure above the
Huntersville Chert?

Response:

    •   Since the inception of the Marcellus play in 2005, only one (1) Marcellus well was drilled within
        3.5 miles of the Vanity injection site. It is the Chevron 10H Buterbaugh (37-063-37021), and is
        located roughly 3.4 miles to the southeast of the prospect. This well was completed in the
        Marcellus Shale on December 20, 2011 with reportedly poor results. No additional Marcellus
        wells have been permitted or drilled since that time.
    •   The Vanity 1026 was drilled on the upper flank of a relatively narrow salt-cored anticline, one
        that has 4-way closure. Although this structural style facilitated the trapping of natural gas
        within the anticline, and created a drilling target for primary production from the Huntersville
        Chert, it is generally considered a "geohazard" with respect to Marcellus Shale drilling
        operations and would result in shortened lateral wellbores. Operators in this region appear to
        be focusing their efforts on the more tectonically-quiet synclinal areas or broad, gentle anticlinal
        features in order to maximize their lateral lengths.
    •   Although PGE does not control the oil and gas rights to the Marcellus Shale under the 147 acre
        Marjorie C. Vanity tract itself, the company currently holds Marcellus rights under the adjoining
        properties on three sides. Within a 1.0 mile radius around the Vanity well, PGE holds roughly
        920 acres of Marcellus rights, while roughly the same amount of acreage is held by various other
        Operators. For its part, PGE has no intention of conducting Marcellus operations in this area. In
        addition, it is extremely unlikely another Operator would attempt to drill Marcellus laterals on
        the Vanity tract or the surrounding area for several reasons. First, the presence of the steep,
        narrow anticline discussed above represents a serious impediment to drilling a lateral of any
        reasonable length while staying within the targeted zone. Second, the fact that PGE currently
        holds the Marcellus rights on the tracts surrounding the Vanity precludes another Operator from
        being able to develop wells with sufficiently long wellbores to be economic as a result of PGE's
        Marcellus acreage position.     PGE does not believe it to be economic or prudent for our
        company, or any other Operator, to attempt to develop a Marcellus Shale project within this

        ·---
        immediate area   ~




Attachment H: Operating Data
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    Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 14 of 23




 Question: The application requests a maximum injection volume of 2,000 barrels/day based on a short
 term injectivity test. This equates to a monthly injection volume of approximately 60,000 barrels. Based
 on just the data from the short term injectivity test, EPA is not inclined to permit the injection well for
this high a volume.       Do you have further data to support this high an injection volume?       Injection
pressure will ultimately dictate injection volume and rate.     EPA would like to see the injection well
operate for a period of time to be able to justify a 60,000 barrel/month injection volume. How much
produced fluid does PGE anticipate sending to this well?

Response:        To meet PGE's disposal needs and minimize on-site storage, we propose an initial monthly
limit of 30,000 bbls and maximum rate of 1,500 bbl/day subject to wellhead pressure limitations.

Question: EPA did not see an analysis of Total Organic Carbon (TOC) in the analysis of the injection fluid
submitted with the application. Please submit an analysis of the TOC.

Response: Enclosed

Attachment K: Injection Procedures

Question: The application indicates that the injection well will be equipped with an automatic shut
down device set at maximum tubing and casing pressures. What does maximum casing pressure mean?
Since maximum injection pressure will be set for the well, it would be better to define the casing shut
down pressure as a percentage of the operating pressure or some positive pressure, so that if a leak
does occur, it would trip the automatic shutdown device and shut the well in.

Response: A Programmable Logic Controller (PLC) would be used to control operation of the injection
pump. This would allow for decisions on pump speed to be made based on input from multiple sources
(injection rate, tubing pressure, casing pressure, etc.). One of the operating parameters would be the
"maximum allowable casing pressure" (MACP). Casing pressure is the pressure in the annulus between
the 2 3/8" injection string and the 4 Yz" production casing.   The MACP will be set as 200 psi above the
base operating casing pressure. The base operating casing pressure is the pressure in the annulus under
normal operating conditions which is anticipated to be less than 300 PSI. If a leak in the tubing or packer
should occur, the increased pressure due to the leak will cause the casing pressure to increase and shut
the pump down at a maximum allowable casing pressure of 500 psi. The 4 Yz" production casing is rated
for 7,780 psi.

Attachment l: Construction Procedures

Question: A complete set of drillers logs for the Vanity 1025 need to be submitted. Only partial logs
were submitted with the application. At a minimum, the submission should include gamma ray, density,
neutron, and caliper logs.      In addition, please submit a Cement Evaluation Log (CEL) or Cement
Bond/Variable Density Log (CBL/VDL) that shows the bonding of the cement run on the 4-1/2" long
string casing. If a CEL or CBL/VDL is not available, then one will need to be run prior to running tubing
and packer into the well, and submitted as part ofthe injection well completion report.
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   Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 15 of 23




  Response: Enclosed is a complete Litho-Density/Compensated Neutron/GR/Caliper log for the Vanity
 1025. Also enclosed is a CBL/VDL run April 16, 2013. The CBL/VDL starts at a depth 7,490 ft as a plug
 was set at 7,S10 ft, 34 ft above the perforations, so the long string casing could be filled with water to
run the CBL/VDL.

Question : When the 2-3/8" tubing and packer is run inside the long string casing, it will need to be set
no more than SO feet above the perforations.

Response: The packer, with a plug installed in it, was set at 7,S10 feet to facilitate running of the
CBL/VDL. Details of the packer setting can be found in the enclosed well log dated April16, 2013 . After
the CBL was run, the tubing was run back in the well, an inhibited packer fluid was circulated into the
tubing/casing annulus and the tubing seated in the packer.        The plug was then removed from the
packer.

Question : Please describe how PGE will provide and maintain security for the facility to prevent illegal
trespass. For example, will the facility have fencing, locked gates, cameras, etc.? What will be the
facility's anticipated hours of operation and will the facility be manned during hours of operation?

Response: The offloading, storage and pumping facilities will be fenced and gated. Anticipated hours of
operation for offloading fluids is _7 am to 7 pm . The facility'-Will be manned during all offloading
operations. Pumping operations will operate continuously as long as fluid is available. In addition to the
automated shutdown controls, the pumps will be connected to a SCADA network to allow remote
monitoring and control of the system .

Attachment P: Monitoring Program

Question : The application did not mention that cumulative volume will be monitored.            Cumulative
volume needs to be monitored continuously throughout the injection well's operation.

Response:   A meter that registers both instantaneous rate and cumulative volume will be used to
monitor the well.

Attachment Q: Plugging and Abandonment

Question: The plugging and abandonment plan did not show a final surface plug placed in the well. EPA
typically requires a surface plug to be placed in the well during plugging. If for some reason EPA's
requirement does not meet the Pennsylvania Department of Environmental Protection's requirements,
then please stipulate.

Response : Pa Code Title 2S Chapter 78.9S (a)(3) requires that we set a 100 foot cement plug from SO
feet below the surface casing shoe to SO feet inside the surface casing and fill the casing to surface with
a noncementing material.

Attachment R: Necessary resources
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     Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 16 of 23




guestion: EPA also requires that a Schedule A form be submitted with the Standby Trust Agreement. A
copy of the Schedule A form has been enclosed with this deficiency notice for your use.

Response: A completed Schedule A is enclosed.




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Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 17 of 23




                APPENDIX, EXHIBIT “B”
Affidavit of Grant Township Board of Supervisors’ Chairman Jon Perry
 Case 1:14-cv-00209-SPB Document 293-1 Filed 01/10/18 Page 18 of 23




                              UNITED STATES DISTRICT COURT
                          THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA GENERAL ENERGY
COMPANY, L.L.C.,                                               Civ.No.: 1:14-cv-209
                                                               Magistrate Judge
Plaintiff,                                                     Susan Paradise Baxter

PENNSYLVANIA INDEPENDENT OIL AND
GAS ASSOCIATION,                                               DECLARATION OF
                                                               JON PERRY
Plaintiff-Intervenor,

v.

GRANT TOWNSHIP,

                                                               Electronically Filed
Defendant.




             DECLARATION OF GRANT TOWNSHIP SUPERVISOR JON PERRY

        I, Jon Perry, being an adult over the age of21 years, and competent to make this unsworn

Declaration, do hereby make the statements below, which are true and correct to the best of my

knowledge and belief, subject to the penalties for unsworn declarations pursuant to Pennsylvania

law:

       1. My name is Jon Perry, and I serve as Chairman of the Supervisors for Grant

             Township. Grant Township is a small rural town in Pennsylvania with a population of

             approximately 700 people. 1 have lived in Grant Township for 24 years. I have been a

             Supervisor since April 2014. The Supervisors act as the legislative body for the

             Township. r served on the Board of Supervisors at the time Grant Township passed the

             Ordinance.
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   2. The Township Supervisors are not aware of any individuals in the Township engaged

      in the depositing of waste from oil and gas extraction, and, in particular, to any degree

      that would be a threat to residents' health, safety, welfare, and environmental rights.



   3. In June 2014, the Township passed the Ordinance to address the depositing ofwaste

      from oil and gas extraction by corporations within the Township. The Ordinance

      prohibited the activity by corporations because corporations, and not individuals, pose

      risks to, and threaten, the people's right to clean, air, water, and soil.



   4. The Ordinance did not include individuals because it was not the intent of the

      Ordinance to be construed to prohibit individuals from engaging in activities, such as

      changing the oil in their cars.



   5. The Township Supervisors determined that corporations pose a risk to, and threaten,

      the people's right to clean, air, water, and soil, because we are aware of, and reviewed

      documentation regarding, water pollution and other environmental contamination and

      degradation that has occurred as a result of activities related to oil and gas extraction,

      in particular, the depositing of waste from oil and gas extraction.



  6. In passing the Ordinance, the Supervisors were very concerned that other corporations

      would seek to deposit their waste in Grant Township, ifPGE was successful in gaining

      its permits. The Supervisors discussed this concern with residents of Grant Township

      at public meetings.
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 7. Because the Township Supervisors are not aware of any individuals who have engaged

    in the depositing of waste from oil and gas extraction or who have been permitted by

    the Environmental Protection Agency or the DEP to do so, the Township believed that

    it was reasonable, necessary, logical, legitimate, and prudent to prohibit such activities

    by corporations, and not individuals.




 8. In passing the Ordinance, the Township Supervisors were aware of numerous

    complaints before the Pennsylvania Department of Environmental Protection

    regarding corporations engaged in oil and gas activities. In many instances, the

    complaints have not been investigated. In a few instances, the DEP has issued notices

    of violations to corporations, including PGE--but only in a few instances, and after the

    environmental contamination has occurred.




9. Community members informed me about the threats posed by the permanent storage

    offracking waste, and I recall an article shared with me entitled "Injection Wells: The

    Poison Beneath Us", dated June 21,2012, (www.propubl ica.org/article/injection-

    wclls-the-poison-bcneath-us).




 10. Individuals, as opposed to corporations, and the government agencies that work with

    those corporations to permit the activities that pose risks to, and threaten, the people ' s

    right to clean, air, water, and soil, are not the problem. Corporations (and government

    permitting agencies) are the threat. So, the Ordinance applies to corporations.




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   11. The Township considered the information described in the above paragraphs in

      passing the Ordinance, and those considerations are summarized in the "Whereas"

      clauses ofthe Ordinance.




   12. The Township and the people have determined that EPA's and DEP's permitting

      processes, and other state and federal laws, do not protect their health, safety, welfare

      and environmental rights. In issuing permits to corporations such as PGE, the EPA and

      DEP place economic interests above environmental rights, when the people of Grant

      Township have demanded, and the Pennsylvania Constitution requires, otherwise.




   13. Prior to, at the time of passing, after passing, and after this Court found the Ordinance

      to be invalid, many residents of the Township expressed concerns about the depositing

      of fracking waste in the community. The concerns are about impacts on their health,

      safety, and welfare, and about impacts on clean air, water, soil, and on the natural

      landscape.




   14. The Township determined that trucking fracking waste around the town, up and down

      the town's roads, and, then injecting it into a well, located in very close proximity to

      residents, near our important watershed and sole source of drinking water is a threat. A

      very serious threat.




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                                                                                                I
 15. PGE's activities are a threat, but they are not the only threat. Other corporations

     seeking to engage in, or engaging in the depositing of waste from oil and gas activities

    are also a threat. That is why the town passed the Ordinance: to stop this activity by

    any corporation and to stop the government agencies that continue to permit such

    activities, without regard to the impact on the people's health, safety, welfare, and

    environmental rights, from doing so.




 16. The Township has legitimate (and compelling) reasons to believe that corporations

    pose risks to, threaten to harm, have harmed, and will continue to harm residents'

    environmental rights. Fracking waste disposal is a relatively new activity in

    Pennsylvania, with known and unknown risks. The Township has legitimate (and

    compelling) reasons to prohibit corporations from engaging in the depositing of oil

    and gas waste within the Township.



 17. The Township has an obligation-- a duty-- to protect its residents' environmental

    rights. We not only believe it makes sense- it is logical, legitimate, rational, and

    necessary-- but, it is our duty to protect people's health and the environment.



 18. Many residents ofTownship asked the Supervisors to take action to address the threat

    posed by fracking waste.



 19. The people have a right to clean air and water. We do not have to stand by while the

    people ' s water supply is threatened, and its air quality and scenic landscape harmed.




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          We do not have to wait for a Flint, Michigan incident. We understand our public

          trustee duties to be much greater. We understand that once the environmental

          degradation has occurred, once the waste has been injected, we cannot just go

          backwards. It takes years for the environment to heal and it may never heal. These are

          unacceptable impacts and risks.



      20. In passing the Ordinance, the Township determined that corporations should not have

         greater rights than people. The people have the fundamental and inherent right of

          local, community self-government. Section 2(a) of the Ordinance enumerated that

          right. The popularly enacted Grant Township Chatier now also enumerates that right.


       I sign this Declaration subject to the penalties for unsworn verifications pursuant to

Pennsylvania Jaw.



Dated: January 9, 2018.




Jon Perry
Grant Township Supervisor, Chairman




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